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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                     CASE No. 9:16-cv-81871-MARRA/MATTHEWMAN

     LAN LI, an individual, et al.,

            Plaintiffs,
     vs.

     JOSEPH WALSH, an individual, et al.,

          Defendants.
     _______________________________/

                         JOINT STIPULATION FOR DISMISSAL AS TO
                         DEFENDANTS LESLIE ROBERT EVANS AND
                         LESLIE ROBERT EVANS & ASSOCIATES, P.A.

            Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs being:

     Baoping Liu; Changyue Liu; Daqin Weng; Feng Guo; Li Zhang; Ling Li; Liyan Feng;

     Min Cui; Qingyun Yu; Ruji Li; Shaoping Huang; Shaoqing Zeng; Tingting Sun;

     Tonghui Luan; Xiao Sun; Xiaoping Zhang; Yawen Li; Yizhao; Yingjun Yang; and,

     Zheng Yu (“20-EB5 Plaintiffs”); and Defendants Leslie Robert Evans, individually, and

     Leslie Robert Evans & Associates, P.A. (collectively, the “Evans Defendants” and

     together with the 20-EB5 Plaintiffs, the “Parties”) , hereby stipulate to dismissal of all

     claims against the Evans Defendants in the Third Amended Complaint [DE 351] and

     agree as follows:

            1.      The matter has been amicably settled as to the claims raised by the 20-

     EB5 Plaintiffs against the Evans Defendants, with the parties to bear their respective

     attorneys’ fees and costs. The Parties have entered into a certain Settlement Agreement

     that was fully executed by the Parties on June 21, 2021, and the terms of that Settlement




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     Agreement are incorporated herein by reference.

            2.      The 20-EB5 Plaintiffs and the Evans Defendants stipulate and agree that

     the Court shall immediately dismiss Counts I, III, XIII, XIV, XV, XXII, XXIV, XXV,

     XXVI, XXXI, XXXII as levied against the Evans Defendants with prejudice.

            3.      The 20-EB5 Plaintiffs and the Evans Defendants request that the Court

     retain jurisdiction over this matter to enforce the terms of their Settlement Agreement.

     Dated: September 2, 2021.

     Respectfully submitted,



     /s/ Gregory Elder_____                                           ____________
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                                                  /s/ Brett D. Lieberman
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                                  CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true copy of the foregoing was electronically served

     on September 2, 2021 via CM/ECF on all parties registered to receive service in this case

     by CM/ECF. I also certify that the foregoing document is being served this day on all

     counsel of record identified on the attached Service List via transmission of Notices of

     Electronic Filing generated by CM/ECF or via U.S. Mail.

                                                   /s/ Brett D. Lieberman
                                                   Brett D. Lieberman (FBN 69583)



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